        Case 1:19-mc-00145-TSC Document 284 Filed 09/30/20 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                            Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Barr
 THIS DOCUMENT RELATES TO:
 Roane v. Barr, No. 05-2337


                           NOTICE OF EXECUTION DATE

       The United States hereby notifies the Court that the Director of the Federal Bureau of

Prisons, upon the direction of the Attorney General and in accordance with 28 C.F.R. Part 26, has

scheduled the execution of Orlando Cordia Hall for November 19, 2020. Hall is an intervener

plaintiff in Roane v. Barr, No. 05-2337 (D.D.C.), which is part of this consolidated matter.

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       Case 1:19-mc-00145-TSC Document 284 Filed 09/30/20 Page 2 of 2




Respectfully submitted,

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Dated: September 30, 2020
